Case 1:19-cr-20059-KMW Document 24 Entered on FLSD Docket 03/04/2019 Page 1 of 1



                              United States District Court
                              Southern District of Florida

                    Criminal Case No. 19-20059-CR-WILLIAMS

  United States of America,
              Plaintiff.

  v.

  Samson Hyland, Jr.
             Defendant.
  _________________________________/

              ORDER TRANSFERING CASE TO FUGITIVE STATUS

        This matter is before the Court sua sponte. On January 31, 2019 an
  indictment was filed, this cause was randomly assigned to the undersigned. A
  warrant for arrest was issued for the defendant. Since the defendant has not
  made an initial appearance, the defendant is transferred to fugitive status.
        Done and Ordered at Miami, Florida on March 4, 2019.




  Copy:
  Counsel of Record
